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                                 138745



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s):

Willie Harris
Civil Case #: 1:21-cv-2312-RLY-TAB____________________

      ORDER GRANTING MOTION FOR SUBSTITUTION OF PROPER PARTY

       The Court has considered the Plaintiff’s Motion to Substitute Party Plaintiff, and the Court

 taking it into consideration, hereby grants the Motion. [Filing No. 24560.]

       IT IS THEREFORE ORDERED that Akila Harris, on behalf of Willie Harris, is

 substituted as Plaintiff in the above referenced action.


       Date: 7/12/2023
                                                  _______________________________
                                                   Tim A. Baker
                                                   United States Magistrate Judge
                                                   Southern District of Indiana




 Distribution to all registered counsel of record via CM/ECF
